                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                 v.                            )        NO. 3:13-00051
                                               )        JUDGE SHARP
KENNETH WARD                                   )
JEANIN DIESTERHOFT                             )
JOSHUA THOMAS SLIZOSKI                         )
DEWAYNE JOHN BELLINI                           )

                                              ORDER

        In accordance with the discussions at the status conference held this date, the Court confirms

the following:

        (1) The trial in this case scheduled to begin July 30, 2013, is hereby continued without date,

to be reset at a later time;

        (2) On or before August 2, 2013, Defendant Slizoski shall file his response to the Motions

to Continue that have been filed, and, as a part of that response, address the need for, and propriety

of, severance; and

        (3) On or before August 8, 2013, Defendant Slizoski shall file his Motion to Dismiss. The

Government shall have until August 15, 2013, within which to file a reply.

        It is SO ORDERED.


                                                        ____________________________________
                                                        KEVIN H. SHARP
                                                        UNITED STATES DISTRICT JUDGE




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